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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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STATE OF NEW YORK and ERIC GONZALEZ, in his
official capacity as the District Attorney of Kings County
(Brooklyn),

                                  Plaintiffs,

             v.                                                                19 Civ. 8876 (JSR)

UNITED STATES IMMIGRATION AND CUSTOMS                                          NOTICE OF APPEAL
ENFORCEMENT; MATTHEW T. ALBENCE, in his official
capacity as Acting Director of United States Immigration and
Customs Enforcement; UNITED STATES DEPARTMENT
OF HOMELAND SECURITY; and CHAD WOLF, in his
official capacity as Acting Secretary of Homeland Security,

                                   Defendants.
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      Notice is hereby given that all defendants in the above-named case hereby appeal to the United
States Court of Appeals for the Second Circuit from the final judgment entered in this action on June
11, 2020.

Dated:       New York, New York                                  Respectfully submitted,
             August 7, 2020
                                                                 AUDREY STRAUSS
                                                                 Acting United States Attorney for the
                                                                 Southern District of New York
                                                                 Attorney for Defendants

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